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                                                          - 470 -
                             Nebraska Court of Appeals Advance Sheets
                                  30 Nebraska Appellate Reports
                                        IN RE INTEREST OF MADISON T. ET AL.
                                                 Cite as 30 Neb. App. 470



                                    In re Interest of Madison T. et al.,
                                      children under 18 years of age.
                                       State of Nebraska, appellee, v.
                                           Crystal L., appellant.
                                                       ___ N.W.2d ___

                             Filed January 11, 2022.     Nos. A-21-102, A-21-120, A-21-121.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches its conclusions indepen-
                    dently of the findings made by the juvenile court below.
                 2. Juvenile Courts: Evidence: Appeal and Error. When the evidence is
                    in conflict, an appellate court may consider and give weight to the fact
                    that the juvenile court observed the witnesses and accepted one version
                    of the facts over another.
                 3. Parental Rights: Proof. Neb. Rev. Stat. § 43-292 (Reissue 2016) con-
                    tains 11 separate subsections, any one of which can serve as a basis for
                    terminating parental rights when coupled with evidence that termination
                    is in the best interests of the child.
                 4. ____: ____. To terminate parental rights, it is the State’s burden to show
                    by clear and convincing evidence both that one of the statutory bases
                    enumerated in Neb. Rev. Stat. § 43-292 (Reissue 2016) exists and that
                    termination is in the child’s best interests.
                 5. ____: ____. Neb. Rev. Stat. § 43-292(7) (Reissue 2016) operates
                    mechanically and, unlike the other subsections of the statute, does not
                    require the State to adduce evidence of any specific fault on the part of
                    a parent.
                 6. Parental Rights: Juvenile Courts. Reasonable efforts to reunify a fam-
                    ily are required under the juvenile code only when termination is sought
                    under Neb. Rev. Stat. § 43-292(6) (Reissue 2016).
                 7. Parental Rights: Presumptions: Proof. A child’s best interests are pre-
                    sumed to be served by having a relationship with his or her parent. This
                    presumption is overcome only when the State has proved that the parent
                    is unfit.
                                    - 471 -
          Nebraska Court of Appeals Advance Sheets
               30 Nebraska Appellate Reports
                 IN RE INTEREST OF MADISON T. ET AL.
                          Cite as 30 Neb. App. 470
 8. Parental Rights: Statutes: Words and Phrases. Although the term
    “unfitness” is not expressly stated in Neb. Rev. Stat. § 43-292 (Reissue
    2016), it derives from the fault and neglect subsections of that statute
    and from an assessment of the child’s best interests.
 9. Parental Rights: Words and Phrases. Parental unfitness means a per-
    sonal deficiency or incapacity which has prevented, or will probably
    prevent, performance of a reasonable parental obligation in child rearing
    and which has caused, or probably will result in, detriment to a child’s
    well-being.
10. Parental Rights. The best interests analysis and the parental unfitness
    analysis, in the context of a termination of parental rights case, are sepa-
    rate inquiries, but each examines essentially the same underlying facts
    as the other.
11. Parental Rights: Words and Phrases. A termination of parental rights
    is a final and complete severance of the child from the parent and
    removes the entire bundle of parental rights; therefore, with such severe
    and final consequences, parental rights should be terminated only in the
    absence of any reasonable alternative and as the last resort.
12. Parental Rights: Guardians and Conservators: Proof. A guardianship
    in some instances might be a reasonable alternative to termination of
    parental rights. But there is no burden on the State to prove that termina-
    tion is the only alternative available.
13. Parental Rights: Proof. A bridge order might in some instances be a
    reasonable alternative to termination of parental rights, but there is no
    burden on the State to prove that termination is the only reasonable
    alternative available. The only burden on the State is to prove, by clear
    and convincing evidence, that termination of parental rights is in the
    best interests of the child and that one or more of the conditions set out
    in Neb. Rev. Stat. § 43-292 (Reissue 2016) exists.
14. Juvenile Courts: Statutes: Legislature: Child Custody. In enacting
    Neb. Rev. Stat. § 43-246.02 (Cum. Supp. 2018), authorizing bridge
    orders, the Legislature crafted a solution for temporary continuity when
    the child is no longer in need of the juvenile court’s protection; the juve-
    nile court has made, through a dispositional order, a custody determina-
    tion in the child’s best interests; and the juvenile court does not wish to
    enter a domestic relations custody decree under the power granted by
    Neb. Rev. Stat. § 25-2740(3) (Cum. Supp. 2020).
15. Parental Rights. Children cannot, and should not, be suspended in fos-
    ter care or be made to await uncertain parental maturity.
16. ____. Where a parent is unable or unwilling to rehabilitate himself or
    herself within a reasonable time, the best interests of the child require
    termination of the parental rights.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
  Appeals from the County Court for Custer County: Kale B.
Burdick, Judge. Affirmed.
  Vikki S. Stamm, of Stamm Romero &amp; Associates, P.C.,
L.L.O., and Marsha E. Fangmeyer for appellant.
  Steven R. Bowers, Custer County Attorney, and Kayla C.
Clark for appellee.
  Julie K.W. Gawrych, of Wroblewski &amp; Gawrych Law Office,
L.L.C., guardian ad litem.
  Moore, Bishop, and Arterburn, Judges.
  Bishop, Judge.
                        INTRODUCTION
   Crystal L. appeals from the decision of the county court
for Custer County, sitting as a juvenile court, terminating her
parental rights to three of her children. We affirm.
                         BACKGROUND
                   Procedural Background
   Crystal is the mother of Madison T., born in 2013; Conrad
L., born in 2011; Hailey L., born in 2005; and Austin S., born
in 2004. Austin is autistic and has “ODD” and “ADHD,” as
well as some other mental health issues.
   Stephen T. is the father of Madison. Benjamin G. is the father
of Conrad. The State made no allegations against Stephen or
Benjamin in these current juvenile cases. Because Stephen
and Benjamin are not part of this appeal, they will only be
discussed as necessary. We note that Madison and Conrad now
live with their respective fathers.
   Daniel K. is the father of Hailey. Hailey lives with Daniel,
and neither were part of the current juvenile cases. Because
Hailey and Daniel are not part of this appeal, they will only be
discussed as necessary.
   Nicholas S. is the father of Austin. There is some indica-
tion in our record that the State sought to terminate Nicholas’
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
parental rights, but the current status of his parental rights is
not clear from our record. Because Austin’s father is not part
of this appeal, he will only be discussed as necessary. We note
that Austin currently lives with his maternal great aunt.
   On December 31, 2018, Crystal went to a bar with a friend
around 11 p.m. and left her children home alone. Austin, the
oldest child, was 14 years old at the time; he is autistic and
had been diagnosed with “ODD” and “ADHD.” Hailey was
13 years old at the time, Conrad was 7, and Madison was 5.
Crystal got “pretty intoxicated” at the bar. After leaving the
bar after midnight on January 1, 2019, the friend, who had
also been drinking, went to Crystal’s home in Broken Bow,
Nebraska, to watch the children while Crystal went to another
town with a different friend; Crystal ended up using metham-
phetamine. Crystal returned home midmorning on January 1,
and her friend was still watching the children, but the friend
left when Crystal got home. (At the time, it was thought that
all four children were left at home on New Year’s Eve, but at
the time of the termination hearing in November 2020, it was
learned that Hailey was with her father on December 31, 2018;
therefore, it was only Madison, Conrad, and Austin who were
at Crystal’s home that night.)
   On January 3, 2019, a law enforcement officer conducted
a welfare check on the children at Crystal’s home. Crystal
appeared to be under the influence that day. She admitted
to relapsing on methamphetamine on New Year’s Eve and
informed the officer that she had plans to go to inpatient
treatment in Arizona the next day. Law enforcement left after
Crystal’s grandfather arrived to take over care for the children.
Crystal’s mother then picked the children up from Crystal’s
grandfather and continued to care for them. A follow-up hair
follicle test was performed on the children, and Madison’s test
was positive for “THC”; the other children’s hair was not long
enough to test.
   Crystal left for treatment in Arizona on January 6, 2019, and
on January 11, she signed a power of attorney for the children
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
to be with her mother. In order to accommodate the children’s
schooling, the maternal grandmother cared for the children at
Crystal’s home during the week and in her own home in Taylor,
Nebraska, on the weekends. The heating unit in Crystal’s home
was “red-tagged” on January 10, and according to the grand-
mother, the landlord refused to repair or replace the unit until
the rent was paid. As a result, the grandmother used space heat-
ers to heat Crystal’s home.
   The State filed separately docketed petitions on February
8, 2019, alleging that Madison, Conrad, and Austin fell within
Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016) because Crystal
neglected or refused to provide proper or necessary subsist­
ence, education, or other care necessary for their health, mor-
als, or well-being; they lacked proper parental care by reason
of the fault or habits of Crystal; or they were in a situation
injurious to their health or morals.
   At a hearing on February 26, 2019, the State made an oral
motion for the care and custody of the children to be placed
with Nebraska’s Department of Health and Human Services
(DHHS). In its journal entry and order filed that same day,
the juvenile court sustained the State’s motion. The juvenile
court placed the children in the temporary care and custody of
DHHS because Crystal was currently located at an out-of-state
treatment facility and one of the children tested positive for
exposure to controlled substances. Although Crystal signed a
temporary delegation of parental powers on January 11 giving
her mother her parental powers over the children for a period
not to exceed 6 months, the court found that “[t]he delegation
of parental powers does not appear to have been executed prop-
erly and [the] court questions its validity.” The court ordered
DHHS to determine if the children’s current placement with
their grandmother was appropriate and safe; if deemed unsafe
or inappropriate, DHHS was to find an appropriate placement
for the children. DHHS was also ordered to set up visits with
the parents as deemed appropriate.
   On March 17, 2019, all three children were moved from
their foster home placement with their grandmother to a
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
different relative foster home placement with their great aunt,
where Austin has remained. On May 15, Madison was placed
with her father, where she has remained. On June 14, Conrad
was placed with his father, where he has remained.
   A contested adjudication hearing was held on August 8,
2019. Following the hearing, the juvenile court took the matter
of adjudication under advisement, but ordered DHHS to “begin
full panel drug testing” of Crystal, “forthwith.” On August 15,
the juvenile court “sustain[ed] the allegations” of the petitions
and adjudicated Madison, Conrad, and Austin as being within
the meaning of § 43-247(3)(a).
   The disposition hearing was held on October 24, 2019. The
juvenile court approved and adopted the DHHS case plan and
court report dated October 11, 2019, as modified, and ordered
the parties to comply with its terms. The only goal pertaining
to Crystal in the case plan was for Crystal to keep her home
free from drug use in order to safely parent her children and
provide for their needs. Strategies for that goal were for Crystal
to (1) attend individual therapy to assist her in her sober liv-
ing and (2) follow all recommendations made to her by her
inpatient provider. Services to be utilized were inpatient treat-
ment, individual therapy, Alcoholics Anonymous (AA) and/or
Narcotics Anonymous (NA), and case management.
   On February 19, 2020, Crystal filed an objection to the
DHHS case plan and court report dated January 23, 2020. The
review hearing on March 19 was continued to June 5. At the
hearing on June 5, Crystal withdrew her objection to the January
case plan and court report; the juvenile court adopted that case
plan and court report and ordered the parties to comply with
its terms. That case plan contained the initial goal, strategies,
and services pertaining to Crystal, but also added a second
goal for Crystal to provide age and developmentally appropri-
ate supervision for her children. The strategies for the new
goal were for Crystal to (1) learn and demonstrate knowledge
of child development, (2) learn and demonstrate knowledge
of appropriate child expectations, (3) supervise her children
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
appropriately to their age and development, and (4) monitor
all electronic usage and ensure it is appropriate. Services to be
utilized regarding the new goal were case management, indi-
vidual therapy, family therapy, and family support.
   On August 26, 2020, Crystal filed a motion for bridge order
in both Madison’s case and Conrad’s case. Crystal alleged
that those two children had been placed with their respec-
tive fathers and that the juvenile court action may be safely
closed once orders for custody, physical care, and visitation
had been entered by the district court. She noted that filings
had not yet been instituted in any district court. However,
she requested that the juvenile court enter an order granting
her and each child’s respective father joint legal and physi-
cal custody of their child, subject to a parenting plan setting
forth a schedule for the physical placement of the child and a
holiday schedule.
   A DHHS court report and case plan dated August 27, 2020,
recommended that a bridge order be completed for Madison
and for Conrad, stating that DHHS believed the plan was in
the best interests of those children and would “provide per-
manency for them with their fathers.” As for Austin, DHHS
recommended that he remain placed with his great aunt as she
“is able to provide the routine and structure in the best inter-
est of Austin’s needs.” The report and case plan indicated that
Austin’s great aunt would provide permanency for him “if
the case were to go to a guardianship,” and the “primary per-
manency plan of Guardianship Relative is being achieved by
01-19-2021.”
   On September 1, 2020, Conrad’s father filed objections to
Crystal’s motion for a bridge order and to the August 27 DHHS
court report and case plan that recommended a bridge order
be completed for Conrad. Also on September 1, the children’s
guardian ad litem (GAL) filed objections to Crystal’s motion
for a bridge order for Madison and for Conrad, and to the
DHHS court report and case plan for all three children, because
the GAL believed that it was in the children’s best interests to
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
remain outside of Crystal’s legal and physical care, custody,
and control.
   On September 1, 2020, the State and the children’s GAL
jointly filed motions to terminate Crystal’s parental rights
to Madison, Conrad, and Austin pursuant to Neb. Rev. Stat.
§ 43-292(2), (3), (4), (6), (7), and (9) (Reissue 2016). The
motions alleged as follows: Crystal substantially and continu-
ously or repeatedly neglected and refused to give the children
or a sibling necessary parental care and protection. Crystal,
being financially able, had willfully neglected to provide the
children with the necessary subsistence, education, or other
care necessary for their health, morals, or welfare or had
neglected to pay for such subsistence, education, or other care
when legal custody of the children was “lodged with other
and such payment ordered by the court.” Crystal was unfit by
reason of habitual use of intoxicating liquor or narcotic drugs,
or repeated lewd lascivious behavior, which conduct was seri-
ously detrimental to the health, morals, or well-being of the
children. Reasonable efforts to preserve and reunify the family
had failed to correct the conditions leading to the adjudication
of the children under § 43-247(3)(a). The children had been in
an out-of-home placement for 15 or more of the most recent 22
months. Crystal subjected the children to aggravated circum-
stances, including, but not limited to, chronic abuse, abandon-
ment, and sexual abuse.
                     Termination Hearing
   A consolidated permanency and review hearing, hearing
on the objections to the case plan, hearing on the motion
for bridge order, and hearing on the motion to terminate
Crystal’s parental rights was held over the course of 3 days
in November 2020. Numerous witnesses testified and several
exhibits were received into evidence. A summary of the rel-
evant evidence follows.
   Kiela Richards testified that she has been a child and fam-
ily services specialist with DHHS since May 2019. This fam-
ily’s case was one of the first four cases on her caseload after
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
completing training, and it was transferred to her in September
or October from another caseworker who was leaving. Richards
reviewed the case file when she was assigned to the case.
   Richards testified that “N-FOCUS” is DHHS’ recordkeeping
system; it includes, among other things, historical information
of any DHHS contact or involvement with the family, chil-
dren’s medications, doctors’ appointments, and ongoing things
that the parents are doing. Richards’ review of N-FOCUS
showed Crystal’s extensive history with DHHS. Richards’ tes-
timony, along with the DHHS court reports and case plans
received into evidence, revealed that Crystal had 17 accepted
intakes and a total of 10 ongoing cases with DHHS.
   The intakes noted in the DHHS court reports revealed
numerous “unfounded” incidents involving alleged physical
abuse or physical or emotional neglect related to one or more
of the children from January 2010 to May 2018. Since they
were deemed “unfounded,” we will not recount them here
or consider them in our de novo review. Other intakes were
as follows:
         06-22-2010: . . . Court Substantiated, Physical
      Neglect[.] Caller reports that between 9:00 and 9:30 PM
      on 06-21-2010, 6 year old Austin . . . was found wander-
      ing around outside in his pajamas over 5 blocks from
      home. Crystal thought the grandmother was watching him
      and the grandmother thought that Crystal had taken him
      to McDonalds. Caller reports that Austin had been off of
      his [medications] for over a week. Crystal tested positive
      for both methamphetamine[] and marijuana.
         ....
         12-11-2011: . . . Agency Substantiated, Physical
      Neglect[.] Allegations of one of the children . . . not wear-
      ing weather appropriate clothing while playing outside
      and being left unsupervised.
         ....
         03-11-2012: . . . Court Substantiated, Physical
      Neglect[.] Allegations of Crystal being under the influence
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
             IN RE INTEREST OF MADISON T. ET AL.
                      Cite as 30 Neb. App. 470
   of methamphetamine and making methamphetamine in
   the family home with the children present.
      ....
      05-8-2017: [Disposition unknown.] The allegations are
   that Crystal beat Austin with a belt on 5/7/2017 after
   Austin lit a paper on fire in the home. Austin was kept
   home from school on 5/8/2017 because of the marks from
   the beating.
 Crystal’s voluntary and court cases that were noted in the
DHHS court reports were as follows:
      Crystal had a court case from 3/2007 to 2/2009.
   During this time, the family completed Intensive Family
   Preservation, drug and alcohol services, individual ther-
   apy, and family support services. The family was success-
   ful and the case was closed in 2/2009.
      Crystal had another court case from 11/2009 to 5/2010.
   During this time frame, the family completed IFP, indi-
   vidual therapy for Crystal and therapeutic visits as a fam-
   ily. This case was successful and was closed in 5/2010.
      Crystal had a court case from 6/2010 to 6/2011. During
   this time, the family completed therapy, community inter-
   vention, drug and alcohol services and Families Care.
   This case had been dismissed due to Crystal putting in
   place therapy, ResCare, Families Care and had [two doc-
   tors] as supports.
      Crystal had a voluntary case from 1/2012 to 3/2012
   that turned into a court case from 3/2012 to 8/2013.
   During this time, the family had home support[] services,
   drug and alcohol services, family support, and parent-
   ing skills. This case was dismissed in 8/2013 due to 6
   months of stability and consistency and was referred to
   Early Intervention Professional Partners Program through
   Region 3.
      Crystal had a court case from 1/2015 to 4/2015. During
   this case, the family was involved with family support,
   therapy, and professional partners support services. This
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
      case turned to a voluntary case from 4/2015 to 5/2015.
      The family was successful and the case was dismissed.
         Crystal had a voluntary case from 10/2015 to 2/2016.
      During this time, the family completed family support.
      There was an incident involving domestic violence. The
      perpetrator, Stephen[,] was asked to leave the home so
      the children could remain safe with Crystal. A safety plan
      was put in place and the case was closed.
         Crystal had a voluntary case from 6/2017 to 10/2017.
      The family completed family peer support and IFP.
      Crystal was able to be successful with family support and
      the children were safe in the home. The case was closed.
   Richards testified that the current case was opened in 2019
because of drug use allegations, as well as Crystal’s exten-
sive history with DHHS. Testimony from various witnesses
was given regarding the events of December 31, 2018, when
Crystal left the children at home while she went to a bar and
later used methamphetamine, through January 3, 2019, when
law enforcement performed a welfare check on the children,
who were eventually left in the care of their grandmother when
Crystal went to treatment in Arizona. Richards testified that
the children were removed while their grandmother was caring
for them because the home was not clean and the utilities were
not working.
   Richards stated that Crystal had two goals, the first of which
was to keep her home free from drug use in order to safely
parent her children and provide for their needs. To help her
accomplish this goal, Crystal was to attend individual therapy
to assist in her sober living and follow all recommendations
by her inpatient provider. The services available to her were
inpatient treatment, individual therapy, AA and NA, and case
management.
   Richards stated that Crystal reported attending inpatient
treatment at a facility in Arizona from January to April 2019.
DHHS did not have any releases signed by Crystal allowing
them to get her treatment records from Arizona; Richards did
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
not ask Crystal to sign any releases, but asked her personally to
provide records. Richards asked Crystal to provide documen-
tation, recommendations, and a discharge summary from the
treatment facility, but Crystal did not do so. However, within
the week prior to the termination hearing, Richards received an
email from Crystal’s attorney with documents from the treat-
ment facility in Arizona. An email and some treatment excerpts
were received into evidence. The exhibits showed that Crystal
had been at a wellness and/or recovery facility in Arizona in
January, that she tested positive for amphetamines and meth-
amphetamine after her arrival, and that her tentative discharge
date was April 24; there is nothing to show whether she suc-
cessfully completed treatment and what the recommendations
were at the time of discharge.
   Richards stated that Crystal also reported seeing Terry
Dunlop for individual therapy; Richards asked Dunlop for
an update regarding Crystal, but Dunlop reported that he had
never seen Crystal as an individual therapy client and that he
was only doing family therapy with her and Austin. Richards
also stated that Crystal reported attending AA and NA support
groups and having a sponsor, but Richards was not provided
any documentation verifying Crystal’s attendance.
   There was an incident in December 2019 when Austin
showed pornography to Madison and Conrad during a visit
with Crystal. Thereafter, Crystal was given a second goal,
which was to provide age and developmentally appropriate
supervision for her children. To help her accomplish this goal,
Crystal was to learn and demonstrate knowledge of child
development and appropriate child expectations, supervise her
children appropriately to their age and development, and moni-
tor all electronic usage and ensure it was appropriate. The serv­
ices available to her were individual therapy, family therapy,
family support, and case management. As stated previously,
despite Crystal’s report that she attended individual therapy
with Dunlop, Dunlop denied seeing Crystal as an individual
therapy client. However, Crystal did attend family therapy and
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
participated in family support and case management. Richards
stated the pornography incident led to a forensic interview
at the Family Advocacy Network (FAN). Crystal denied that
Madison or Conrad told her about the pornography, and she
claimed that she found out about it from Madison’s father.
Conrad also reported that he was on Crystal’s phone without
her monitoring his usage. The issue was discussed at a team
meeting in December, and it was understood that there was not
to be usage of electronics moving forward.
   Richards testified that when the current juvenile case began
in early 2019, Crystal had supervised visits with the children
and at some point progressed to unsupervised visits. When
Richards became involved with this case in September or
October 2019, Crystal was having unsupervised visits with the
children. Around the beginning of December, DHHS found out
about the pornography incident, and because the children were
scheduled for a forensic interview, visits were “paused” for a
while, “maybe the month of December.”
   Sara Stauffer testified that she was a forensic interviewer at
FAN in Kearney, Nebraska. In December 2019, Stauffer inter-
viewed Madison and Conrad. Madison “disclosed that Austin
watches inappropriate [sic] on a telephone,” and “at that point
had wiggled his private part at her”; but she never saw the
private part. Madison stated that she told her mother and that
her mother checked on Austin and got mad at him. Conrad
also “disclosed that Austin’s inappropriate” and will “show
him private parts . . . while watching on YouTube.” Crystal
testified that Austin did not have her phone on the day of the
incident and that the video was on the television, specifically
YouTube. She subsequently “put passwords on the TVs and on
the PlayStation,” and it was discussed at team meetings that the
children should not be on electronics during visits.
   Richards testified that when Crystal’s visits resumed in
January 2020, they were supervised by the children’s great
aunt. Austin’s visits have remained supervised since that time.
However, for a short period of time, Madison’s and Conrad’s
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
              IN RE INTEREST OF MADISON T. ET AL.
                       Cite as 30 Neb. App. 470
visits went back to being unsupervised. But there were con-
cerns about Crystal’s truthfulness and the lack of information
being provided about when and where she was taking the chil-
dren on visits. For example, Crystal gave a plan of what she
was going to do with the children for their visits, but she did
not follow through with the plan, and it was later learned that
they had done something else instead (e.g., she took Conrad
to Madison’s father’s house instead of fishing). According to
Richards, DHHS could not ensure the children’s safety was
being taken into consideration. As a result, Conrad’s visits
went back to being supervised; it is unclear if Madison’s visits
did. The children’s great aunt supervised the sibling visits for a
while, but then there were concerns about her supervising all of
the children together. Independence Rising was then engaged
to supervise some of the visits. Other than when Conrad was
on the phone too much during one visit, Richards could not
recall if there were any other concerns noted during visits.
   An Independence Rising employee testified that from August
23 to November 15, 2020, she supervised two visits between
Crystal and all three children and seven visits when it was just
Crystal and Conrad. All visits occurred in Crystal’s home and
were 5 hours in length. During visits, the children appeared
to be engaged with Crystal and did activities with her, and
Crystal paid attention to them, redirected them when neces-
sary, and prepared meals. The Independence Rising employee’s
visitation notes received into evidence do not disclose any
safety concerns.
   Richards testified that at the time of the termination hearing
in November 2020, Crystal was having weekly supervised vis-
its with Austin and Conrad. Crystal’s visits with Madison had
temporarily stopped; she was having unsupervised visits, but
Madison’s father raised concerns that Crystal was not taking
Madison to appropriate locations and that Madison was pos-
sibly around marijuana. Richards also learned that Crystal had
some unauthorized visits with Madison, including two over-
night visits. Richards stated she had recently sent a referral to
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Independence Rising for supervised visits with Madison. When
asked if she believed it was in the children’s best interests
to return to the unsupervised care of their mother, Richards
responded, “I do not.”
   Richards helped create exhibit 43, which included a table for
each child showing the number of DHHS intakes throughout
their lives, as well as the percentage of time they had been
out of home, a DHHS ward, or involved in a voluntary case
with DHHS. The exhibit contained additional intakes that were
not included in the DHHS court reports and case plans quoted
previously in this opinion. According to exhibit 43, Madison
had a total of 21 intakes from 2013 to 2020. She had spent
25.78 percent of her life out of home, 33.53 percent of her life
as a DHHS ward, and 6.46 percent of her life involved in a
voluntary case with DHHS. Conrad had a total of 35 intakes
from 2011 to 2020. He had spent 28.46 percent of his life out
of home, 39.99 percent of his life as a DHHS ward, and 6.25
percent of his life involved in a voluntary case with DHHS.
Austin had a total of 48 intakes from 2007 to 2020. He had
spent 22.96 percent of his life out of home, 40.92 percent of
his life as a DHHS ward, and 3.61 percent of his life involved
in a voluntary case with DHHS.
   Richards testified that Madison currently lived with her
father and was “doing good” there. Conrad currently lived with
his father and was doing “[v]ery, very well” there. Although
the DHHS court report dated August 27, 2020, recommended
that bridge orders be completed for Madison and Conrad, at the
time of the termination hearing in November, Richards was not
in support of a bridge order for Conrad because he was stable
and where he needed to be to meet his safety, well-being, and
permanency; if a bridge order was entered, DHHS would no
longer be involved. Richards was not asked about her current
thoughts on a bridge order for Madison.
   Richards stated that Austin is autistic and had an increase
of sexual behaviors, but he had not received the necessary
services for those issues throughout his life; DHHS has “put
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. . . a lot of services in place for Austin, and he is doing well.”
Austin currently lived with his great aunt, and he was doing
“[v]ery, very well” there.
    According to Richards, on August 8, 2019, there was a
referral and court order for Crystal to do drug patch testing.
The DHHS case plan and court report dated January 23, 2020,
states that “DHHS has received all negative drug patch results
throughout the life of this ongoing case.” Richards stated there
was a time when testing was not being conducted because
of the COVID-19 pandemic. Crystal subsequently had drug
patches that tested positive for THC.
    A functional family facilitator with Independence Rising, an
agency hired by DHHS, testified that she did drug testing for
Crystal. Crystal does “Pharmchek sweat patches” for drug test-
ing; “the “patch[es] can be worn on a shoulder blade, the arm,
or the lower back” and are changed weekly. The patch tests for
“a five-panel of drugs”: cocaine, opioids, methamphetamine,
THC, and “PCP.” Crystal had weekly positive tests for THC
on September 25 and October 2, 9, and 16, 2020; her patch
from September 18 appeared to have been tampered with.
Richards testified that Crystal’s drug patches on October 23
and November 11 were also positive for THC; November 11
was the week before the termination hearing began.
    Crystal testified that this was her “sixth or seventh” case
with DHHS. She stated that in 2007, both Austin and Hailey
were removed from the home for approximately 1 year. In
2009, Austin was removed from the home. In 2012, she used
methamphetamine around the children, and as part of that court
case, she completed treatment. (Stauffer testified that in 2012,
Conrad tested “positive for ingestion and exposure to metham-
phetamine.”) Crystal stated that another juvenile case was filed
in 2015, but was ultimately dismissed.
    As to the current case, Crystal recounted the events from
New Year’s Eve 2018 to her contact with law enforcement
on January 3, 2019, as set forth previously. Crystal left for
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treatment on January 5, while her mother stayed with the
children. She was discharged on March 31 and returned to
Nebraska. By that time, the children had been removed from
her mother’s care.
   Crystal stated that upon returning home from treatment, she
attended individual therapy on a weekly basis for 3 to 4 months
with “Judy,” and when Judy retired, Crystal switched to Dunlop,
who was also seeing Austin; she stopped seeing Dunlop in
December 2019 or January 2020. In addition to therapy, Crystal
attended AA meetings two to three times each week.
   Crystal testified that she had been doing drug patch testing
for several months, since “the last court hearing.” She acknowl-
edged that some results were positive for THC in September
and October 2020. When asked if she had “an explanation of
why the THC came up,” Crystal responded, “No.” She further
stated, “I have asked people that do the patch changes [and]
[t]hey said it could be medications that I am taking or it could
simply be that it’s just not being put on right.” Crystal stated
that she had a hair follicle test done on June 12 and October
23, 2020, on her “own recognizance” to prove that she had
been staying sober, and the hair follicle tests came back nega-
tive; she had “also taken a UA on [her] own recognizance, and
it was negative for everything.”
   Richards testified that she was aware that Crystal got two
hair follicle tests done on her own initiative (i.e., not requested
by DHHS), which had negative results. Richards contacted
FAN and learned that if hair is treated or dyed in any way, it
could affect the hair follicle test results. Crystal testified that
she bleaches her hair and gets “perms”; she said she informed
the laboratory that performed the hair follicle tests that she had
bleached her hair and “they said that would be okay.” Stauffer,
the forensic interviewer from FAN, testified that she does hair
follicle tests at FAN and that FAN does not test hair which has
been chemically dyed or treated because the results will come
back as “inconclusive.”
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    In her testimony, Crystal denied smoking marijuana in the
last 2 years. She stated that she last used marijuana 17 years
ago and that she last used methamphetamine on December 31,
2018, and January 1, 2019. And she stated that before her most
recent relapse, she had not used methamphetamine since 2012;
however, she was confronted with her reports from treatment
wherein she said she had been using methamphetamine three
to four times per month, and had been using it on and off
since 2012.
    Crystal believes it would be in Austin’s best interests for his
great aunt to have guardianship over him and for Crystal to
continue to have contact with him. Austin’s great aunt testified
that Crystal is a good mother and that if Austin does not get to
see her, “it will be bad.” The great aunt stated that there were a
couple of months when Austin did not have visits with Crystal
and that he was “[r]eally aggressive, argumentative”; once vis-
its resumed, he was “[p]retty good.”
    Crystal believes she has beneficial relationships with
Madison and Conrad and would like to continue to have con-
tact with them.
    Crystal testified that she has lived in Mason City, Nebraska,
since March 31, 2019, in a home owned by the children’s
great aunt; she does not pay rent. She enrolled in cosmetol-
ogy school in June 2019, was a full-time student, and would
graduate “[w]ithin the next couple of weeks.” She had “two
job offers” for after graduation and wanted to move to Broken
Bow to “be closer to [her] children.”
    Daniel, Hailey’s father, testified that he got custody of
Hailey via a district court order on January 17, 2019. When
Hailey lived with Crystal, Hailey was “a mother” to her
younger brother and sister. Daniel said Hailey “got the kids
ready for school in the morning, helped them get dressed,
helped them with breakfast, helped them with homework after
school, . . . cooked dinner for them several nights a week . .
. .” And she told Daniel that “she was basically their guardian
at night to kind of protect them from some of the things that
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she was afraid of them seeing and hearing,” e.g., Crystal’s
“[b]ringing different men over to the house, being inebriated
and being around the kids late at night.”
   The children’s great aunt testified that prior to this case
beginning, she provided childcare for Austin on Monday,
Tuesday, Wednesday, and Thursday nights because Crystal
worked the night shift (7 p.m. to approximately 7 a.m.); she
would also have either Madison or Conrad those nights, while
Hailey cared for the other child at their home. Crystal testified
that Hailey was 13 years old when she would watch Madison
or Conrad overnight while Crystal worked.
   Stephen, Madison’s father, testified that Madison has been
living in his home since June 2019. He confirmed that until
recently, he and Crystal had gotten along very well, and he
had even given her more visitation with Madison than he
was supposed to. However, in the “past maybe month, month
and a half” prior to the termination hearing, he began having
safety concerns about where Crystal was taking Madison for
visits. He said that Crystal’s boyfriend had been living across
the street from him for about 6 months and that Crystal was
taking Madison there on visits. According to Stephen, Crystal
stays at her boyfriend’s house “half the time,” and people there
“[smoke] pot, party[], stuff like that.” Stephen also stated that
there was “[a] lot of fighting over there, [Crystal] and her
boyfriend,” and that her boyfriend smokes “pot” and “hangs
out with . . . that crowd.” Crystal has come to Stephen’s house
on two occasions after she got in a fight with her boyfriend;
one of those times she was “pretty intoxicated.” Stephen
also found out that Crystal had been taking Madison, age 7,
to AA meetings with her. Stephen stated that “after this last
incident” when he confronted Crystal about taking Madison
to AA meetings, Richards told him there would be no more
weekly unsupervised visits. Stephen did not have an objec-
tion to a bridge order because “Maddie needs a mom,” but
stated that Crystal had some “priorities and stuff she needs to
work out.”
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   Benjamin, Conrad’s father, testified that Conrad came to
live with him in June 2019. Crystal’s visits started off fully
supervised, went to unsupervised for a while, and then back
to being fully supervised. Benjamin does not agree with a
bridge order.
   Julie Forrester testified that she is a licensed mental health
practitioner. She saw Madison nine times from January 28
through April 8, 2020. DHHS required Madison to attend ther-
apy because it had been reported that she had been exposed
to sexually explicit videos through her half brother during a
visitation at Crystal’s home. Madison also witnessed her half
brother masturbating in front of her at Crystal’s home. Forrester
worked with Madison on personal safety skills. Forrester met
with Conrad 20 times between October 23, 2019, and August
20, 2020. They worked on Conrad’s anxiety. They also worked
on personal safety skills because, like Madison, Conrad had
been exposed to sexually explicit videos and masturbation by
his half brother. Forrester said that in addition to the therapy
sessions, she was “utterly shocked at what [she had] heard
today” in court, and she “would recommend absolutely not”
giving Crystal custody of Madison or Conrad.

                    Juvenile Court’s Decision
   In its detailed and thorough order entered on January 8,
2021, the juvenile court recounted the evidence presented at
trial, including Crystal’s extensive history with DHHS. After
summarizing the testimony and other evidence presented, the
court made a specific finding that Crystal lacked credibility and
that “little, if any, weight is given to Crystal’s testimony.”
   The juvenile court considered each of the statutory grounds
for termination alleged by the State and the GAL and found
that statutory grounds for termination had not been proved pur-
suant to § 43-292(3) or (9). However, the court found by clear
and convincing evidence that statutory grounds for termination
existed pursuant to § 43-292(2), (4), (6), and (7). The court
also found that Crystal was unfit, stating:
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      Crystal’s neglect of her children is not limited to the
      circumstances that led to the adjudications in the above-
      captioned cases. The neglect began when Austin and
      Hailey were toddlers and has continued ever since.
      [DHHS] and the courts have intervened on several occa-
      sions, but Crystal has been unable to permanently correct
      [her] apparent deficiencies or incapacities. Crystal’s his-
      tory is indicative of what the future holds in store for her
      and her children.
Finally, the court found that termination of Crystal’s parental
rights was in the children’s best interests, and it terminated her
rights to Madison, Conrad, and Austin.
   In finding that it was in the children’s best interests to ter-
minate Crystal’s parental rights, the juvenile court also found
that bridge orders were not in Madison’s or Conrad’s best
interests. The court did not specifically address the request
for a guardianship for Austin. Accordingly, the court sustained
the objections to, and rejected, the DHHS case plan and court
report dated August 27, 2020, and it denied the motions for
bridge orders.
   Crystal appeals.
                  ASSIGNMENTS OF ERROR
   Crystal assigns, summarized and restated, that the juvenile
court erred (1) at the permanency hearing by not finding that
a termination of parental rights motion was going to be filed
and instead leaving the goal as family preservation/reunifica-
tion, (2) in finding that statutory grounds existed to terminate
her parental rights, and (3) in finding that she was unfit and
that termination of her parental rights was in the children’s
best interests.
                 STANDARD OF REVIEW
   [1,2] An appellate court reviews juvenile cases de novo
on the record and reaches its conclusions independently of
the findings made by the juvenile court below. In re Interest
of Mateo L. et al., 309 Neb. 565, 961 N.W.2d 516 (2021).
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However, when the evidence is in conflict, an appellate court
may consider and give weight to the fact that the juvenile court
observed the witnesses and accepted one version of the facts
over another. Id.                            ANALYSIS
   [3,4] In Nebraska, the grounds for terminating parental
rights are codified in § 43-292. That statute contains 11 sepa-
rate subsections, any one of which can serve as a basis for
termination when coupled with evidence that termination is in
the best interests of the child. In re Interest of Mateo L. et al.,
supra. It is the State’s burden to show by clear and convinc-
ing evidence both that one of the statutory bases enumerated
in § 43-292 exists and that termination is in the child’s best
interests. In re Interest of Mateo L. et al., supra.
                    Notice of Termination
   Crystal contends that she did not receive notice that a motion
to terminate her parental rights was going to be filed prior to
it actually being filed. She claims that there was not a timely
permanency hearing and that there was no indication the mat-
ter was going to be referred for a termination. She notes that
the DHHS case plans and court reports adopted by the court
throughout the case indicated the goal was family preservation
for Madison and Conrad; the goal for Austin was originally
reunification but it was later changed to a relative guardian-
ship. Richards explained at trial that the reason the goal for
Madison and Conrad was family preservation was because
they lived with their fathers and thus DHHS was preserving the
children’s relationship with their fathers.
   Despite her claim to the contrary, Crystal was provided ade-
quate notice of the termination of parental rights proceedings.
Termination of parental rights may be filed in an original peti-
tion, a supplemental petition, or motion. See Neb. Rev. Stat.
§ 43-291 (Reissue 2016). Section 43-291 provides:
      After a petition, a supplemental petition, or motion has
      been filed, the court shall cause to be endorsed on the
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     summons and notice that the proceeding is one to termi-
     nate parental rights, shall set the time and place for the
     hearing, and shall cause summons and notice, with a copy
     of the petition, supplemental petition, or motion attached,
     to be given in the same manner as required in other cases
     before the juvenile court.
Crystal does not contend that the procedure set forth in
§ 43-291 was not followed in this case. Accordingly, she was
given appropriate notice of the termination proceeding.
            Statutory Grounds for Termination
   We turn to the statutory bases alleged here. In their joint
motions, the State and the children’s GAL sought to terminate
Crystal’s parental rights under § 43-292(2), (3), (4), (6), (7),
and (9). The juvenile court found § 43-292(2), (4), (6), and (7)
existed by clear and convincing evidence.
   [5] Section 43-292(7) allows for termination when “[t]he
juvenile has been in an out-of-home placement for fifteen or
more months of the most recent twenty-two months.” By the
plain and ordinary meaning of the language in § 43-292(7),
there are no exceptions to the condition of 15 out of 22
months’ out-of-home placement. In re Interest of Mateo L. et
al., 309 Neb. 565, 961 N.W.2d 516 (2021). Section 43-292(7)
operates mechanically and, unlike the other subsections of
the statute, does not require the State to adduce evidence of
any specific fault on the part of a parent. In re Interest of
Mateo L. et al., supra. In other words, if the 15-out-of-22
formula is met, § 43-292(7) is met. In re Interest of Mateo L.
et al., supra.
   In this case, the juvenile court ordered the children placed
in the care and custody of DHHS on February 26, 2019, and
DHHS was to determine a safe and appropriate placement for
them. Although the children had already been living with their
grandmother because Crystal was in an out-of-state treatment
facility, we will treat February 26, 2019, as the start date of
the out-of-home placement for purposes of our § 43-292(7)
calculation. The children remained out of Crystal’s home
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through at least November 20, 2020, when the termination
hearing ended. That period easily satisfies the 15-out-of-22
formula.
   [6] The State has shown clearly and convincingly that
§ 43-292(7) exists as a statutory basis for termination in this
case. And since any one of the bases for termination codified
in § 43-292 can serve as the basis for termination, we need not
consider the sufficiency of the evidence concerning the other
statutory bases for termination. In re Interest of Mateo L. et al.,
supra. Furthermore, we note that because we do not consider
whether termination of Crystal’s parental rights was proper
pursuant to § 43-292(6), Neb. Rev. Stat. § 43-283.01 (Cum.
Supp. 2020), which requires reasonable efforts to reunify fami-
lies, is not applicable to the instant case. Section 43-283.01 is
only incorporated into § 43-292(6), not into the remaining sub-
sections of § 43-292. See In re Interest of Andrew M. et al., 11
Neb. App. 80, 643 N.W.2d 401 (2002). See, also, In re Interest
of Mateo L. et al., supra (reasonable efforts to reunify family
required under juvenile code only when termination is sought
under § 43-292(6)).
   We next consider whether termination is in the children’s
best interests.
                Best Interests and Unfitness
   [7-10] Under § 43-292, once the State shows that statu-
tory grounds for termination of parental rights exist, the State
must then show that termination is in the best interests of the
child. In re Interest of Ryder J., 283 Neb. 318, 809 N.W.2d
255 (2012). A child’s best interests are presumed to be served
by having a relationship with his or her parent. In re Interest
of Leyton C. &amp; Landyn C., 307 Neb. 529, 949 N.W.2d 773(2020). This presumption is overcome only when the State
has proved that the parent is unfit. Id. Although the term
“unfitness” is not expressly stated in § 43-292, the Nebraska
Supreme Court has said that it derives from the fault and
neglect subsections of that statute and from an assessment of
the child’s best interests. In re Interest of Mateo L. et al., 309
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Neb. 565, 961 N.W.2d 516 (2021). In the context of the consti-
tutionally protected relationship between a parent and a child,
parental unfitness means a personal deficiency or incapacity
which has prevented, or will probably prevent, performance
of a reasonable parental obligation in child rearing and which
has caused, or probably will result in, detriment to a child’s
well-being. In re Interest of Leyton C. &amp; Landyn C., supra.The best interests analysis and the parental fitness analysis
are separate inquiries, but each examines essentially the same
underlying facts as the other. Id.   We have previously recounted the evidence presented at
the termination hearing, and we will not recount it again here.
Notably, Crystal’s history with DHHS goes back to 2007. Since
that time, there have been numerous intakes for the children and
several voluntary or juvenile court cases. In the past, Crystal
would successfully resolve a voluntary or court case only to
have another one filed shortly thereafter, sometimes within a
matter of months. And “‘one’s history as a parent speaks to
one’s future as a parent.’” In re Interest of Sir Messiah T. et al.,
279 Neb. 900, 909, 782 N.W.2d 320, 328 (2010).
   In the current juvenile cases, Crystal left her 14-year-old
autistic child home alone with her 7-year-old child and her
5-year-old child late at night while she got intoxicated at a bar.
Crystal then went out of town and relapsed on methamphet-
amine while a friend, who had also been drinking, spent the
night with her children. While we commend Crystal’s efforts to
get herself into treatment within the next few days, the record
is not clear whether she successfully completed that inpatient
treatment, and it appears her sobriety did not last. She tested
positive for THC beginning in September 2020, and she was
still testing positive for THC the week before the termina-
tion hearing began in November. Crystal’s drug use is very
concerning as Conrad tested positive for methamphetamine
in 2012, Madison tested positive for THC in 2019, and drug
use was one of the reasons the children were removed from
Crystal’s care in the current case.
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   In addition to her positive drug tests, Crystal was not truth-
ful with DHHS on a number of occasions. She reported going
to individual therapy when she did not, she had unauthorized
visits with her children, and she did not keep DHHS informed
of changes in her visitation plans on occasion. As a result,
Crystal’s visits had to be supervised to ensure the children’s
safety. At the time of the termination hearing in November
2020, Crystal was having only weekly supervised visits with
Austin and Conrad. And her visits with Madison were tem-
porarily stopped while DHHS sent a referral to a visitation
provider. We acknowledge it appears that, other than the por-
nography incident in December 2019, there were no safety
concerns with Crystal’s visits, with the exception of recent
events when Crystal took Madison to her boyfriend’s house
where Madison’s father testified that people there “[smoke]
pot” and “party[],” and also indicated that Crystal was taking
Madison to AA meetings.
   Forrester did not believe that Crystal should have custody of
the children, and Richards did not believe that Crystal should
have unsupervised contact with the children.
   [11] A termination of parental rights is a final and complete
severance of the child from the parent and removes the entire
bundle of parental rights; therefore, with such severe and final
consequences, parental rights should be terminated only in the
absence of any reasonable alternative and as the last resort.
In re Interest of Giavonna G., 23 Neb. App. 853, 876 N.W.2d
422 (2016).
   [12] Crystal believed that a guardianship, rather than a ter-
mination of her parental rights, was in Austin’s best interests.
We acknowledge that a guardianship in some instances might
be a reasonable alternative to termination of parental rights.
But there is no burden on the State to prove that termina-
tion is the only alternative available. In re Interest of Q.R.
and D.R., 231 Neb. 791, 438 N.W.2d 146 (1989). Also, the
Nebraska Supreme Court has noted that a guardianship does
not achieve the degree of permanency equivalent to parenthood
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or adoption. See In re Interest of Antonio S. &amp; Priscilla S., 270
Neb. 792, 708 N.W.2d 614 (2005). A guardianship under the
Nebraska Juvenile Code is subject to the continuing jurisdic-
tion of the juvenile court, which retains the power to terminate
the guardianship. Id. See, also, In re Interest of Amber G. et al.,
250 Neb. 973, 554 N.W.2d 142 (1996), disapproved on other
grounds, In re Interest of Lilly S. &amp; Vincent S., 298 Neb. 306,
903 N.W.2d 651 (2017) (when guardianship is established, par-
ent retains right to petition court for restoration of custody and
full parental rights). Based on our de novo review, we conclude
that a guardianship would not provide the permanency needed
for Austin, as it would leave open Crystal’s right to petition the
court for restoration of custody. Accordingly, a guardianship
was not in Austin’s best interests.
   [13] Crystal also believed that a bridge order, rather than
a termination of her parental rights, was in Madison’s and
Conrad’s best interests. Again, we acknowledge that a bridge
order might in some instances be a reasonable alternative to
termination of parental rights, but as also noted above, there
is no burden on the State to prove that termination is the only
reasonable alternative available. See In re Interest of Q.R. and
D.R., supra. The only burden on the State is to prove, by clear
and convincing evidence, that termination of parental rights is
in the best interests of the child and that one or more of the
conditions set out in § 43-292 exists. See In re Interest of Q.R.
and D.R., supra. The juvenile court concluded a bridge order
would not be in the best interests of Madison and Conrad, and
we agree.
   A bridge order is an order transferring jurisdiction over the
child from the juvenile court to the district court. In re Interest
of Kamille C. &amp; Kamiya C., 302 Neb. 226, 922 N.W.2d 739(2019). See, also, Neb. Rev. Stat. § 43-246.02 (Cum. Supp.
2020). Section 43-246.02 provides in part:
         (1) A juvenile court may terminate its jurisdiction
      under subdivision (3)(a) of section 43-247 by transferring
      jurisdiction over the juvenile’s custody, physical care, and
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      visitation to the district court through a bridge order, if all
      of the following criteria are met:
         (a) The juvenile has been adjudicated under subdivi-
      sion (3)(a) of section 43-247 in an active juvenile court
      case and a dispositional order in that case is in place;
         (b) Paternity of the juvenile has been legally estab-
      lished . . . ;
         (c) The juvenile has been safely placed by the juvenile
      court with a legal parent; and
         (d) The juvenile court has determined that its jurisdic-
      tion under subdivision (3)(a) of section 43-247 should
      properly end once orders for custody, physical care, and
      visitation are entered by the district court.
   [14] The Nebraska Supreme Court addressed § 43-246.02
for the first time in In re Interest of Kamille C. &amp; Kamiya C.,
supra, wherein it noted that § 43-246.02(1)(d) indicates that
a bridge order is appropriate only when the juvenile case can
safely be closed. The legislative intent “was to authorize the
creation of ‘“Bridge Orders” to transfer a case from juvenile
court to district court when a noncustodial parent has been
deemed fit to safely care for a child, and close the unnecessary
juvenile case.’” In re Interest of Kamille C. &amp; Kamiya C., 302
Neb. at 236, 922 N.W.2d at 748. The court stated:
         In enacting § 43-246.02, authorizing bridge orders,
      the Legislature crafted a solution for temporary continu-
      ity when the child is no longer in need of the juvenile
      court’s protection; the juvenile court has made, through a
      dispositional order, a custody determination in the child’s
      best interests; and the juvenile court does not wish to
      enter a domestic relations custody decree under the power
      granted by § 25-2740(3). Such custody decree is instead
      entered by the district court after the transfer of jurisdic-
      tion over the child from juvenile court to district court,
      which transfer is inherent to the bridge order. . . .
         Upon transfer, the district court shall “give full force
      and effect to the juvenile court bridge order as to custody
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      and parenting time.” However, either party may “file a
      petition in district court for modification of the bridge
      order” and, if filed within 1 year after the filing date of
      the bridge order, “the party requesting modification shall
      not be required to demonstrate a substantial change of cir-
      cumstance but instead shall demonstrate that such modifi-
      cation is in the best interests of the child.” In such modi-
      fication proceedings, the statutory scheme requires no
      deference to the juvenile court’s judgment of the child’s
      best interests. . . . In other words, the custody determina-
      tion made by the juvenile court has no legally preclusive
      effect and will be made anew by the district court if either
      parent is discontent with the custody arrangement origi-
      nally set forth by the bridge order.
In re Interest of Kamille C. &amp; Kamiya C., 302 Neb. at 237-38,
922 N.W.2d at 748-49 (emphasis supplied).
   The juvenile court in the current cases found that subsec-
tions (1)(a), (1)(b), and (1)(c) of § 43-246.02 had been met,
but that subsection (1)(d) had not. Based upon that finding, the
juvenile court clearly was unable to conclude that its jurisdic-
tion over Madison and Conrad should end. Nor was it ready, at
least at that time, to award custody to their fathers by deeming
them fit to safely care for them and thereby close the juvenile
cases. We agree that while placement of Madison and Conrad
with their respective fathers may have been the best alternative
while these cases have been pending, the record is not suffi-
cient to conclude that the children’s fathers should be awarded
permanent custody, at least at this time.
   For example, there was evidence that Conrad and his father
did not know each other prior to the placement of Conrad with
him in this case. Conrad’s father testified to his own challenges,
noting that he had been “through treatment a couple of times”
and did not quit “using” after that. He also indicated that in
2018, he “kind of hit [his] rock bottom” and “lost everything[,]
[l]ost [his] kids[,] [and] wasn’t able to be with [his] wife.”
While noting he had not “used in two years,” he also said “it
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              IN RE INTEREST OF MADISON T. ET AL.
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doesn’t mean that I don’t have other problems in my life” and
he was attending a program to address relationship and anger
issues and “all kinds of stuff that are . . . habits, hangups, all
that stuff.” Conrad’s father also discussed his concerns that a
bridge order would ultimately allow Crystal to get Conrad back
because he would not be able to financially afford to “fight
her” in district court.
   As for Madison’s father, he testified that prior to the place-
ment of Madison with him, he had visits with Madison every
other weekend. He acknowledged he had used “meth” before
and knows the symptoms. He also admitted that he allowed
Crystal to keep Madison overnight on a couple occasions in
February 2020 and over Halloween weekend that year despite
knowing Crystal was not permitted to have overnight visita-
tion. Madison’s father testified that he did not have a driver’s
license “[b]ecause of [his] DUIs . . . [f]our” of them. He
explained that this was why he, Crystal, and Madison traveled
to Kearney together before school started to shop for clothes.
He did not talk to the caseworker, Richards, in advance, but
was seen by Richards while shopping. Madison’s father also
acknowledged that besides his “DUIs,” he had been in trouble
with the law for misdemeanors, “[b]attery, [and] a couple pos-
sessions of marijuana.” But he claimed to have no convictions
involving methamphetamine. Madison’s father indicated that
he was still on probation. While he did not object to a bridge
order, he did not agree to a “50/50 bridge order.”
   In our de novo review of the record, we agree with the
juvenile court that it would not be in Madison’s and Conrad’s
best interests to terminate the court’s jurisdiction over them by
entering bridge orders granting their custody to their respective
fathers. Doing so would remove the children from the juvenile
court’s jurisdiction where it was in a better position to deter-
mine what next steps were necessary to advance the best inter-
ests of these children. Given the record before us, it is under-
standable why the juvenile court determined that these juvenile
cases could not safely be closed. Accordingly, we agree with
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              IN RE INTEREST OF MADISON T. ET AL.
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the juvenile court’s determination that § 43-246.02(1)(d) had
not been met and that bridge orders were not in the children’s
best interests.
   [15,16] The juvenile court found that it was in the best
interests of Madison, Conrad, and Austin that Crystal’s paren-
tal rights be terminated. We agree. Crystal’s involvement with
DHHS and the juvenile court date back to 2007, and the
current juvenile court cases were filed in January 2019. In
these current court cases alone, the children had been out of
Crystal’s home for approximately 21 months at the time of the
termination hearing. At the time of the termination hearing,
Crystal was back to supervised visits and had recently been
testing positive for drugs. These children deserve permanency.
“Children cannot, and should not, be suspended in foster care
or be made to await uncertain parental maturity.” In re Interest
of Walter W., 274 Neb. 859, 872, 744 N.W.2d 55, 65 (2008).
And where a parent is unable or unwilling to rehabilitate him-
self or herself within a reasonable time, the best interests of the
child require termination of the parental rights. In re Interest of
Ryder J., 283 Neb. 318, 809 N.W.2d 255 (2012). We find that
the State has rebutted the presumption of parental fitness as
to Crystal. We further find that there is clear and convincing
evidence that it is in the children’s best interests to terminate
Crystal’s parental rights.
                        CONCLUSION
   For the reasons stated above, we affirm the order of the
juvenile court terminating Crystal’s parental rights to Madison,
Conrad, and Austin.
                                                     Affirmed.
